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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

LETASHA MYATT, on behalf of herself )
and others similarly situated,      )
                                    )
                         Plaintiff, )
                                    )
v.                                  )                     CASE NO. 1:10-CV-64-TLS
                                    )
ALLEN COUNTY SHERIFF KEN FRIES )
(in his official capacity),         )
                                    )
                         Defendant. )


                      PLAINTIFF’S PROPOSED VERDICT FORM

       Plaintiff, LeTasha Myatt, on behalf of herself and others similarly-situated, by counsel,

requests that the Court submit to the jury, after the close of evidence and final argument, the

following proposed Verdict Form.



                                            Respectfully submitted,

                                            CHRISTOPHER C. MYERS & ASSOCIATES


                                            s/Christopher C. Myers
                                            Christopher C. Myers, #10043-02
                                            809 South Calhoun Street, Suite 400
                                            Fort Wayne, IN 46802-2307
                                            Telephone: (260) 424-0600
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                                            Attorney for Plaintiff




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                                             CERTIFICATE OF SERVICE

        The undersigned hereby swears that a true and correct copy of the foregoing document was
sent, via United States Mail, ECF, postage prepaid, or by some other means acceptable to this
Court, on this 15th day of December, 2014, to the following:

John O. Feighner
J. Spencer Feighner
Haller & Colvin, P.C.
444 E. Main Street
Fort Wayne, IN 46802-1910


                                                           s/Christopher C. Myers
                                                           Christopher C. Myers



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                     PLAINTIFF’S PROPOSED VERDICT FORM NO. 1

        We the jury, on the issue of the value of the loss of liberty suffered by the Plaintiff and
others similarly-situated, determine that value of the loss of liberty is to be measured at the rate of
$__________ per hour for each hour of deprivation of liberty suffered by each class member.




Date:_______________                                           _____________________________
                                                               Foreman




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